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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE

                                            )
In re:                                      )    Chapter 11
                                            )
Mountain Sports LLC,                        )    Case No. 24-11385 (MFW)
                                            )
               Debtor.                      )
                                            )
Tax ID # xx-xxx9597                         )
                                            )
In re:                                      )    Chapter 11
                                            )
SDI Stores LLC,                             )    Case No. 24-11386 (MFW)
                                            )
               Debtor.                      )
                                            )
Tax ID # xx-xxx4751                         )
                                            )
In re:                                      )    Chapter 11
                                            )
SDI Gift Card LLC,                          )    Case No. 24-11387 (MFW)
                                            )
               Debtor.                      )
                                            )
Tax ID # xx-xxx9775                         )
                                            )
In re:                                      )    Chapter 11
                                            )
Bobs Stores USA LLC,                        )    Case No. 24-11388 (MFW)
                                            )
               Debtor.                      )
                                            )
Tax ID # xx-xxx6115                         )
                                            )
In re:                                      )    Chapter 11
                                            )
Mountain Sports USA LLC,                    )    Case No. 24-11389 (MFW)
                                            )
               Debtor.                      )
                                            )
Tax ID # xx-xxx4036                         )


         ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES
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             Upon the above-captioned Debtors’ Motion for Order (I) Directing Joint Administration

of Chapter 11 Cases and (II) Granting Related Relief (the “Motion”) and the Declaration of David

Barton in Support of First-Day Motions; this Court having considered the Motion and being fully

advised; appropriate notice of the Motion having been given under the circumstances; it appearing

that the relief requested in the Motion is in the best interests of the Debtors and their respective

estates, creditors, stockholders and other parties in interest; this proceeding constituting a core

proceeding pursuant to 28 U.S.C. § 157(b); and this Order constituting a final order pursuant to 29

U.S.C. § 158(a);

             IT IS HEREBY ORDERED THAT:

             1.     The Motion is granted as set forth herein.

             2.     The above-captioned chapter 11 cases be and hereby are consolidated for

procedural purposes only and the cases shall be jointly administered by this Court.

             3.     The caption of these jointly administered cases shall read as follows:

                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE

                                                         )
    In re:                                               ) Chapter 11
                                                         )
    Mountain Sports LLC, et al.,1                        ) Case No. 24-11385 (MFW)
                                                         )
                     Debtors.                            ) Jointly Administered


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Mountain Sports LLC (9597); SDI Stores LLC (4751); SDI Gift Card
LLC (9775); Bob’s Stores USA LLC (6115); and Mountain Sports USA LLC (4036). The location
of the Debtors’ corporate headquarters is 160 Corporate Court, Meriden, CT 06450.




                                                     2
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        4.      The Clerk of the Court shall maintain one file and one docket for all of these jointly

administered cases, which file and docket shall be the file and docket for Mountain Sports LLC,

Case No. 24-11385 (MFW) (the “Lead Case”).

        5.      The Clerk of the Court shall make an entry on the docket in each of the above-

captioned cases, other than the Lead Case, which shall read substantially as follows:

        An order has been entered in this case directing the procedural consolidation and
        joint administration of the chapter 11 cases of Mountain Sports LLC (Case No. 24-
        11385 (MFW));SDI Stores LLC (Case No. 24-11386 (MFW)); SDI Gift Card LLC
        (Case No. 24-11387 (MFW)); Bob’s Store USA LLC (Case No. 24-11388 (MFW));
        and Mountain Sports USA LLC (Case No. 24-11389 (MFW)). The docket in
        Mountain Sports LLC, Case No. 24-11385 (MFW), should be consulted for all
        matters affecting this case.

        6.      This Order shall be entered on the docket for each of the above-captioned cases; a

copy of this Order shall be filed in the case files for SDI Gift Card LLC; Bob’s Store USA LLC;

SDI Stores LLC; and Mountain Sports USA LLC; and the original of this Order shall be filed in

the case file for the Lead Case.

        7.      The procedural consolidation shall be for administrative purposes only and shall

not be a substantive consolidation of the respective estates.

        8.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.




Dated: June 21st, 2024                                MARY F. WALRATH
Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE
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